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                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF NEW YORK

  YUJIA GAO                                                            )
                                PLAINTIFF,                             )        CASE NO.: 1:21-cv-06308
                                                                       )
                      v.                                               )        Document Electronically Filed
                                                                       )
                                                                       )
  EMILY YU, AND WINDSOR                                                )
  SULLIVAN PROPERTY INC.                                               )
                                                                       )
                                DEFENDANTS.                            )
                                                                       )



                                 MEMORANDUM OF LAW IN SUPPORT OF
                                    AN ORDER FOR ATTACHMENT


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        This office represents Plaintiff Yujia Gao. Pursuant to Fed.R.Civ.P. 64, Wong, Wong &

 Associates, P.C. files this revised memorandum of law in support of an order for attachment.


                              III.    PRELIMINARY STATEMENT

        As set forth more fully in the affidavit of Ms. Gao, Plaintiff invested $1 million into

 Defendant Ms. Yu’s corporation, Windsor Sullivan Property Inc., and signed an investment

 agreement by which she received a 5% ownership in Defendant Windsor, and is to receive

 regular interest payments from Defendant Windsor. Defendant Ms. Yu is personally liable for

 these debts because of a guaranty that she signed contemporaneously with the initial loan

 agreement. Plaintiff has attempted on multiple occasions to collect on the payments owed to her,

 but Defendants have only repaid $140,000 of the loan, which has not even covered the interest

 accrued by Defendants. Subsequently, Defendant Windsor sold a property that was intended to

 be used as a school to a third party, Sansui Trading Co Ltd., for $2,811,200, and shortly

 thereafter, Defendant Windsor was dissolved. However, Plaintiff was never informed of either of

 these occurrences, and because of this sale, Plaintiff reasonably fears that Defendant Yu will

 continue to dispose of assets to evade collection by Plaintiff.


                                     IV.   LEGAL ARGUMENT


        To secure the judgment at the conclusion of litigation, the Court should grant an order of

 attachment on the property located at 30 Chestnut Drive, Roslyn, NY 11576, Nassau County. “At

 the commencement of and throughout an action, every remedy is available that, under the law of

 the state where the court is located, provides for seizing a person or property to secure

 satisfaction of the potential judgment.” Fed.R.Civ.P. 64(a). The remedies available under this

 rule include attachment. Fed.R.Civ.P. 64(b). See Capital Ventures Intern. v. Republic of


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 Argentina, 443 F.3d 214, 218-219 (2d Cir.2006) (applying New York C.P.L.R. in an attachment

 proceeding); Bank of China v. NBM, LLC, 192 F. Supp. 2d 183, 186 (S.D.N.Y. 2002)

 ("Pursuant to Fed.R.Civ.P. 64, the remedy of attachment is governed by state law."). An order of

 attachment may be granted where the plaintiffs have demanded and would be entitled to a money

 judgment against one or more defendants when the defendant, with intent to frustrate the

 enforcement of a judgment that might be rendered in plaintiff's favor, has assigned, disposed of,

 encumbered or secreted property, or removed it from the state or is about to do any of these acts.

 C.P.L.R. § 6201(3). Any debt or property against which a money judgment may be enforced is

 subject to attachment. C.P.L.R. § 6202. This preliminary injunction is sought pursuant to

 Fed.R.Civ.P. 65(b)(1).


        In seeking attachment, plaintiffs must establish (1) that there is a cause of action against

 the defendant, (2) that it is probable the plaintiffs will succeed on the merits, (3) that one or more

 statutory grounds for attachment are met, and (4) that the amount demanded exceeds all known

 counterclaims. C.P.L.R. § 6212(a). The moving papers must contain evidentiary facts proving

 the basis upon which the attachment remedy is sought. Societe Generale Alsacienne De Banque,

 Zurich v. Flemingdon Dev. Corp., 118 A.D.2d 769, 773 (2d Dept. 1986).


        1. Plaintiffs have a cause of action against the Defendants.


        For the first requirement, “the court must give the plaintiff the benefit of all the legitimate

 inferences that can be drawn from the facts.” TAGC Management, LLC v. Lehman, 842 F.

 Supp. 2d 575, 586 (S.D.N.Y. 2015) (citing Bank of Leumi Trust Co. v. Istim, Inc., 892 F.Supp.

 478, 482 (S.D.N.Y.1995)).




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        In this case, the Plaintiffs have valid causes of action that can clearly be demonstrated

 through supporting papers. Plaintiffs have filed a Summons and Complaint with the Court for

 breach of contract, violation of contractual obligations of good faith and fair dealing, unjust

 enrichment, fraud, conversion, among other causes of action. Plaintiff invested $1 million in

 Defendant Yu and her corporation, who now owes $1,693,613.63 due to accrued interest to

 Plaintiff, even after having repaid $140,000 on the loan. Due to Defendant Yu’s violation of the

 agreements, as detailed within the Plaintiff’s complaint, the entirety of this sum is immediately

 due. Thus, the first element of C.P.L.R. § 6212 is satisfied.


        2. Plaintiffs have Shown a Probability of Success on The Merits.

        As to the requirement that the movant is likely to succeed on the merits, “the Court must

 give the plaintiff the benefit of all the legitimate inferences that can be drawn from the facts.”

 TAGC Management, 842 F. Supp. 2d at 586. This element requires the moving party to

 demonstrate that it is more likely than not that movant will succeed on its claims and must show

 proof stronger than that required to make a prima facie case. In re Amaranth Natural Gas

 Commodities Litigation, 711 F. Supp. 2d 301, 306 (S.D.N.Y. 2010).


        Here, it is more than probable that the Plaintiff will succeed on the merits of this case.

 The Plaintiffs have filed a Summons and Complaint with the Court for breach of contract,

 violation of contractual obligations of good faith and fair dealing, unjust enrichment, fraud,

 conversion, among other causes of action. As discussed in the Affidavit and Affirmation of the

 attorney, no defense has been offered by Defendants as to why the money has not been repaid in

 a timely manner. Furthermore, Defendant Yu has offered no defense as to why the payments

 have not been repaid, nor has she disputed the payments in any way. According to the

 contractual terms of the agreements, the repayment is both overdue and undisputed.

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         As such, the Plaintiff will more likely than not succeed on the merits. Thus, the second

 element of C.P.L.R. § 6212 is satisfied.


         3. Grounds for attachment exists under C.P.L.R. § 6201(3).


         An order of attachment may be granted where the plaintiffs have demanded and would be

 entitled to a money judgment against one or more defendants when the defendant, with intent to

 frustrate the enforcement of a judgment that might be rendered in plaintiff's favor, has assigned,

 disposed of, encumbered or secreted property, or removed it from the state or is about to do any

 of these acts. C.P.L.R. § 6201(3).


         “To establish the third element for attachment, the plaintiff must prove both that the

 defendant (1) has assigned, disposed of, encumbered, or secreted property, or removed it from

 the state, or is about to do any of these acts; and (2) has acted or will act with the intent to

 defraud creditors or to frustrate the enforcement of a judgment that might be rendered in

 plaintiff's favor.” Silverman v. Miranda, 116 F. Supp. 3d 289, 311 (S.D.N.Y. 2015).


         Where fraud is alleged, under C.P.L.R. § 6201(3), “the plaintiff must demonstrate that the

 defendant has concealed or is about to conceal property in one or more of several enumerated

 ways, and has acted or will act with the intent to defraud creditors or to frustrate the enforcement

 of a judgment that might be rendered in favor of the plaintiff’.” VNB NY, LLC v. Rapaport,

 2016 NY Slip Op 50099 (Sup. Ct., Kings Co. Jan. 29, 2016) (citations omitted).


         In the instant case, despite Plaintiff having an ownership stake in Defendant Windsor,

 Defendant Yu first assumed a $2 million mortgage on the property located at 41 Town Road,

 Route 97, Sullivan, NY 11273, and then sold this property to a third party, Sansui Trading Co


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 Ltd., without ever notifying Plaintiff about this sale, despite her contractual obligations to do so,

 and the fact that not doing so constituted a default. Additionally, Defendant Yu dissolved

 Defendant Windsor without notifying Plaintiff, which also violated these agreements.

 Furthermore, Defendant Yu has taken no steps to repay Plaintiff after the sale of this property,

 despite now possessing the funds to do so.


        Therefore, the ongoing and continuing fraud by Defendants unquestionably indicates that

 Defendants have taken actions, and, if not enjoined from doing so, will continue to take further

 actions to dispose of assets with the intent to defraud creditors, including Plaintiffs. Furthermore,

 the Defendants have acted and will, if not prevented from doing so, continue to act with the

 intent to defraud Plaintiffs in order to frustrate any judgments that might be rendered against

 them in the Plaintiffs’ favor. Thus, the third element of C.P.L.R. § 6212 is satisfied.


        4. The Amount Demanded from Defendants Exceeds all Counterclaims known to
           Plaintiffs.

        In determining whether the fourth requirement, that the amount demanded from the

 defendant exceeds all counterclaims known to the plaintiff, is met, courts are to examine only the

 amount of the counterclaims that the plaintiff concedes are just. C.P.L.R. § 6212(a); Bank of

 Leumi, 892 F. Supp. at 482. Papers on a motion for an order of attachment must show that the

 amount demanded from defendants exceeds all counterclaims known to plaintiff, taking into

 consideration only those counterclaims that a plaintiff is willing to concede as just. The

 existence of a pending counterclaim which is contested does not defeat an attachment. Id.


        In this case, Defendants have not filed any counterclaims against Plaintiffs at this time,

 and it is not expected that Defendants will claim an amount against the Plaintiffs greater than the

 damages cited by the Plaintiffs, as Plaintiffs are not known to have harmed Defendants.

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         5. The Relative Interim Harm to the Moving Party if the TRO is Denied Outweighs

              that to the Opposing Party if the TRO is Granted


         In this case, the only interim relief requested is that the Defendants be enjoined from

 dissipating assets, and therefore no known harm is expected to befall the Defendants.

         Therefore, because Plaintiffs’ claims against Defendant far exceed all known

 counterclaims that Defendant could assert in good faith, the fourth element of C.P.L.R. § 6212 is

 satisfied.


         6. In this Case, an Ex Parte Preliminary Injunction Pursuant to Rule 65 is

              Warranted, as Irreparable Harm will Occur if this Attachment is not Granted


         Pursuant to Rule 65(b)(1), “The court may issue a temporary restraining order without

 written or oral notice to the adverse party or its attorney only if specific facts in an affidavit or a

 verified complaint clearly show that immediate and irreparable injury, loss, or damage will result

 to the movant before the adverse party can be heard in opposition, and the movant's attorney

 certifies in writing any efforts made to give notice and the reasons why it should not be

 required.” “To satisfy the irreparable harm requirement, Plaintiffs must demonstrate that absent a

 preliminary injunction they will suffer 'an injury that is neither remote nor speculative, but actual

 and imminent,' and one that cannot be remedied 'if a court waits until the end of trial to resolve

 the harm.’” Grand River Enter. Six Nations, Ltd v. Pryor, 481 F.3d 60,66 (2d Cir. 2007). "[T]he

 harm to plaintiff from denial of the injunction as against the harm to defendant from granting it"

 must "tip in plaintiff's favor" for an injunction to issue. (Edgeworth Food Corp. v Stephenson, 53

 A.D.2d 588, 588, 385 N.Y.S.2d 64 (1st Dept 1976)).




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         Furthermore, irreparable harm exists where, "but for the grant of equitable relief, there is

 a substantial chance that upon final resolution of the action the parties cannot be returned to the

 positions they previously occupied" (Brenntag Int'l Chems., Inc. v Bank of India, 175 F.3d 245,

 249 (2nd Cir. 1999) [internal citations omitted] [applying [*44] New York law]).

         In this matter, it has been demonstrated by the Affidavit that Defendants have already

 dissipated substantial assets in violation of agreements between Plaintiff and Defendant, and has

 refused to respond to Plaintiff’s demands for repayment. It is readily apparent that if this TRO is

 not granted, Defendant will almost certainly dissipate all remaining assets to avoid Plaintiff from

 collecting on her outstanding debt. Despite having transferred significant corporate assets in

 violation of the parties’ agreements, Defendant Yu has still not disclosed this fact. Furthermore,

 in the attorney’s affirmation, he clearly stated why no required advance notice should be made to

 Defendants prior to the application of this TRO, as to do so would aid Defendants in dissipating

 assets, thus extremely prejudicing Plaintiff, as required under . “[I]t is self-evident that if a party

 renders itself insolvent for the purpose of evading judgment, the plaintiff will not be fully

 compensated by a monetary award.” Goodstein v Enbar, 2017 N.Y. Misc. LEXIS 910, (2017).

 These actions by Defendant create a substantial chance that upon final resolution of the actions,

 Plaintiff will not be returned to the position previously occupied before she invested the monies

 with Defendant. The harm to Plaintiff from the denial of the injunction could ultimately lead to

 Plaintiff losing excess of $1,400,000 owed to her by Defendant, whereby Defendant would incur

 no harm at all.


         In Canwest Global Communications Corp v. Mirkaei Tikshorent Ltd., the court held that

 CanWest “demonstrated that severe irreparable harm and the balance of equities are in favor of

 injunctive relief.” CanWest Global Communications Corp. v. Mirkaei Tikshoret Ltd., 9 Misc. 3d


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  845, 859, 804 N.Y.S.2d 549 (2006). “Respondents [were] engaged in self-dealing and a

  fundamental restructuring of business relationships with irreversible consequences, including

  shutting down the printing plant and transferring the printing business to [another] company,”

  whereby the Court granted a preliminary injunction in favor of Plaintiff. Id. In the instant case,

  Defendant Yu has violated the terms of the parties’ agreements, by transferring Windsor without

  notification to Plaintiff, and shortly thereafter dissolving the company. Ultimately, Defendant Yu

  never returned any of the monies owed to Plaintiff from i) the sale of Windsor, ii) as per the three

  contracts she defaulted on and iii) demand of repayment from Plaintiff. These actions clearly

  demonstrate and create a balance of equities that are strongly in favor of Plaintiff’s request for

  injunctive relief.


          Concerning the specific facts that show immediate and irreparable injury, loss, or

  damage, such a showing has already been made in the previous section, as well as the attorney’s

  affidavit, as required. Ultimately, the result of these actions articulated above provides sufficient

  demonstration that severe irreparable harm and the balance of equities are in favor of the

  injunctive relief requested by Plaintiff.


                                          V.    CONCLUSION

          Therefore, this Court should grant Plaintiffs’ request for an order of attachment on the

  property located at 30 Chestnut Drive, Roslyn, NY 11576, the Defendant’s ownership shares in

  the Windsor School located at 37-02 Main St, Flushing, NY 11354, as well as all bank accounts

  or other assets associated with the Defendants.


  Dated: December 6, 2021

                                                 Respectfully Submitted,


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